Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 1 of 46 PageID #: 269
                                                                                        FILED 
                                                                                        CLERK 
                                                                                            
  UNITED STATES DISTRICT COURT                                              11:49 am, Nov 15, 2018
                                                                                            
  EASTERN DISTRICT OF NEW YORK                                                  U.S. DISTRICT COURT 
  ---------------------------------------------------------X               EASTERN DISTRICT OF NEW YORK 
  JOHN LAFACE,                                                                  LONG ISLAND OFFICE 

                            Plaintiff,                         MEMORANDUM OF
                                                               DECISION & ORDER
                   -against-                                   2:18-cv-01314 (ADS)(AKT)

  EASTERN SUFFOLK BOCES; BOARD OF
  TRUSTEES, EASTERN SUFFOLK BOCES;
  DR. JULIE DAVIS LUTZ, in her official capacity
  as COO, EASTERN SUFFOLK BOCES, and
  individually; DR. R. TERRY McSWEENEY, in
  her official capacity as Assistant Superintendent
  for Human Resources, EASTERN SUFFOLK
  BOCES, and individually; JILL DIAMOND, in
  her official capacity as School Personnel Officer,
  EASTERN SUFFOLK BOCES, and individually;
  KEITH ANDERSON, in his official capacity as
  Supervisor, EASTERN SUFFOLK BOCES, and
  individually; THOMAS BILKA, in his official
  capacity as Supervisor, EASTERN SUFFOLK
  BOCES, and individually,

                             Defendants.
  ---------------------------------------------------------X

 APPEARANCES:

 Harriet A. Gilliam, Esq.
 Counsel for the Plaintiff
 21 West Second Street
 Riverhead, NY 11901

 Sokoloff Stern LLP
 Counsel for the Defendants
 179 Westbury Avenue
 Carle Place, NY 11514
        By:     Adam I. Kleinberg, Esq.,
                Chelsea Weisbord, Esq., Of Counsel




                                                         1
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 2 of 46 PageID #: 270



 SPATT, District Judge:

        On March 1, 2018, John Laface (“Laface” or the “Plaintiff”) commenced this action against

 Eastern Suffolk BOCES (“BOCES”), the Eastern Suffolk BOCES Board of Trustees (the

 “Board”), Dr. Julie Davis Lutz (“Lutz”), Dr. R. Terry McSweeney (“McSweeney”), Jill Diamond

 (“Diamond”), Keith Anderson (“Anderson”) and Thomas Bilka (“Bilka”) (together, the

 “Defendants”), in response to his involuntary transfer in October of 2016. The Plaintiff alleges

 numerous federal and state causes of action, namely violations of the Americans with Disabilities

 Act (“ADA”), 42 U.S.C. § 12101 et seq.; the Rehabilitation Act, 29 U.S.C. § 794 et seq.; the Age

 Discrimination in Employment Act (“ADEA”), 29 US.C. § 621 et seq.; Title VII of the Civil Rights

 Act, as amended, 42 U.S.C. § 2000e et seq.; the First Amendment; the Due Process Clause of the

 Fourteenth Amendment; and the New York State Human Rights Law (“NYSHRL”), N.Y. Exec.

 L. § 296 et seq.

        Presently before the Court is a motion by the Defendants, pursuant to Federal Rule of Civil

 Procedure (“FED. R. CIV. P.” or “Rule”) 12(b)(6), seeking to dismiss the complaint for failure to

 state a claim upon which relief may be granted.

        For the following reasons, the Defendants’ motion to dismiss is granted in part.

                                        I. BACKGROUND

        Unless otherwise noted, the following facts are drawn from the Plaintiff’s complaint, and

 for the purposes of the instant motion, are construed in favor of the Plaintiff.

        Laface is currently employed by BOCES as a Custodial Worker I. For the last 30 years,

 he has been assigned to the Gary D. Bixhorn Technical Center (“BTC”) at 350 Matra Avenue in

 Bellport, New York. During his tenure at BTC, Laface worked from 7:00 a.m. to 3:00 p.m. during

 the workweek and was supervised by Anderson and Bilka. The Plaintiff belongs to the United

                                                   2
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 3 of 46 PageID #: 271



 Public Services Employees Union (the “Union”) and his employment is governed by a collective

 bargaining agreement (the “CBA”). At an unknown time, the Plaintiff developed a condition that

 causes stress and anxiety and prevents him from travelling further than ten miles from his home.

 Laface had previously informed Anderson as well as BOCES’ Human Resources Department of

 his travelling restriction prior to the events detailed below.

        While the Plaintiff’s complaint makes it clear that the Plaintiff was involved in a series of

 complaints and grievances, the nature and timeline of the specific complaints is ambiguous.

 According to the Union, the Plaintiff has actively advocated for himself and the Union for over 25

 years and filed 15 separate grievances since 2014. These were filed in connection with “change

 in shift hours, non-bargaining unit members performing bargaining unit work, allowing district

 employees and/or students into the building without a custodian present … and other … matters.”

 See Docket Entry (“DE”) 10-9.

        Relevant to the instant action, beginning in 2015, the Plaintiff began making complaints to

 Lutz, the Chief Operating Officer of BOCES, and the Board regarding alleged improper and

 wasteful expenditures of public funds, misuse of public funds, and contracting practices. The

 Plaintiff also alleges that he was involved in a grievance filed by the Union regarding harassment

 and discrimination that he purportedly faced on July 7, 2014. The letter from Laface’s union

 depicts an issue with Anderson that alleges bullying, intimidation and the threat of retaliation. See

 DE 10-8 at 1-2. The Plaintiff also filed a grievance with the Public Employment Retaliations

 Board (“PERB”) on July 16, 2015 regarding the use of contractors without custodial employees

 present. The Plaintiff was scheduled to testify at the related arbitration hearing scheduled for

 November 2, 2016. This arbitration involved the use of exterior contractors without custodians

 present. See DE 10-9. Separately, the Plaintiff seemed to have filed an internal complaint with

                                                    3
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 4 of 46 PageID #: 272



 BOCES regarding his treatment in the workplace, alleging harassment and discrimination

 regarding the Plaintiff’s stated disability. There is no timeline provided for this factual assertion

 and it is unclear if this complaint is separate from the Union’s grievance that resulted from the July

 7, 2014 incident.

        On or about October 17, 2016, Anderson and Bilka notified the Plaintiff by letter that he

 was reassigned to the H.B. Ward Campus (“HBW”) in Riverhead, New York, effective on October

 28, 2016. The letter did not provide an explanation as to why BOCES was transferring Laface.

 HBW is located more than ten miles from the Plaintiff’s residence. The CBA permits involuntary

 transfers with one-week’s prior notice. See CBA, DE 10-2 at 27-28. In pertinent part, it states:

 “Except for emergencies and temporary assignments, a permanent unit member may not be

 transferred to another shift or from one building to another until prior notice to and discussion with

 the unit member has taken place. A one week notice for permanent transfers is required.” Id. The

 Plaintiff was provided nine days notice of the transfer to HBW.

        Laface’s impending transfer caused him enormous anxiety and prevented him from being

 able to continue to work. Unable to drive to HBW without his condition flaring up, the Plaintiff

 began a period of sick leave beginning on October 28, 2016. On or about November 22, 2016, the

 Plaintiff received a letter from Diamond, the School Personnel Officer, which directed him to

 report to BOCES Human Resources Department for a meeting on November 28, 2016. Laface’s

 last day of documented sick leave was November 27, 2016, the day before the meeting. He

 reported to the November 28, 2016 meeting with Diamond and requested that she “make a

 reasonable accommodation for his documented disability.” She “refused to engage in the required

 interactive process … to identify a reasonable accommodation for Plaintiff’s travel/driving

 restrictions and stated to Plaintiff that [BOCES] was not going to accommodate him.” Diamond

                                                   4
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 5 of 46 PageID #: 273



 instructed the Plaintiff to have his physician complete a number of forms regarding his disability.

 Laface presented the forms to his physician who completed them and returned them to Diamond.

 After the November 28, 2016 meeting, the Plaintiff received correspondence from Marysue Dileva

 informing him of his rights and responsibilities under the Family Medical Leave Act (“FMLA”).

        Diamond again met with the Plaintiff on December 23, 2016, along with his union

 representative. At that meeting, Diamond purportedly accused Laface of being uncooperative in

 refusing to answer her questions and informed him that he was to report to HBW using public

 transportation rather than remain at BTC. Following the December 23, 2016 meeting, the Plaintiff

 was placed on paid administrative leave. Both the Plaintiff and his union representative reached

 out to Diamond to discuss his administrative leave. Ultimately, the Plaintiff never reported to his

 assignment at HBW. On December 21, 2016, the Union filed a complaint with PERB contending

 that the Plaintiff’s transfer was in retaliation for the Union’s July 16, 2015 grievance involving

 exterior work on the building. See DE 9.

        On or about January 19, 2017, the Plaintiff received a letter from Diamond ordering him

 to report to Jefferson Academic Center (“JAC”) for a temporary work assignment beginning on

 February 1, 2017. The letter further informed the Plaintiff that he was assigned to work from 10:00

 a.m. to 6:00 p.m. at JAC during the regular workweek and indicated that JAC is less than ten miles

 from the Plaintiff’s residence. See DE 10-7, at 2. The Plaintiff began working at JAC as instructed

 and continues to report to this temporary work assignment, which he contends involves different

 work and added responsibilities, including additional manual labor.

        Throughout this time there were vacant custodial positions at BTC, including the Plaintiff’s

 original position.



                                                 5
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 6 of 46 PageID #: 274



                                            II. DISCUSSION

 A. STANDARD OF REVIEW: FED. R. CIV. P. 12(B)(6)

          In considering a motion to dismiss pursuant to Rule 12(b)(6), the Court must accept the

 factual allegations set forth in the complaint as true and draw all reasonable inferences in favor of

 the Plaintiff. See, e.g., Trs. of Upstate N.Y. Eng’rs Pension Fund v. Ivy Asset Mgmt., 843 F.3d

 561, 566 (2d Cir. 2016); Walker v. Schult, 717 F.3d 119, 124 (2d Cir. 2013); Cleveland v. Caplaw

 Enters., 448 F.3d 518, 521 (2d Cir. 2006); Bold Elec., Inc. v. City of New York, 53 F.3d 465, 469

 (2d Cir. 1995); Reed v. Garden City Union Free Sch. Dist., 987 F. Supp. 2d 260, 263 (E.D.N.Y.

 2013).

          Under the Twombly standard, the Court may only dismiss a complaint if it does not contain

 enough allegations of fact to state a claim for relief that is “plausible on its face.” Bell Atl. Corp.

 v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). The Second Circuit

 has expounded that, after Twombly, the Court’s inquiry under Rule 12(b)(6) is guided by two

 principles:

          First, although a court must accept as true all of the allegations contained in a
          complaint, that tenet is inapplicable to legal conclusions, and [t]hreadbare recitals
          of the elements of a cause of action, supported by mere conclusory statements, do
          not suffice. Second, only a complaint that states a plausible claim for relief survives
          a motion to dismiss and [d]etermining whether a complaint states a plausible claim
          for relief will . . . be a context-specific task that requires the reviewing court to draw
          on its judicial experience and common sense.

 Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 664, 129

 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)).

          A complaint must include “a short and plain statement of the claim showing that the pleader

 is entitled to relief,” in order to survive a motion to dismiss. FED. R. CIV. P. 8(a)(2). Under Rule

 8, a complaint is not required to allege “detailed factual allegations.” Kendall v. Caliber Home

                                                      6
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 7 of 46 PageID #: 275



 Loans, Inc., 198 F. Supp. 3d 168, 170 (E.D.N.Y. 2016) (quoting Twombly, 550 U.S. at 555). “In

 ruling on a motion pursuant to FED. R. CIV. P. 12(b)(6), the duty of a court ‘is merely to assess the

 legal feasibility of the complaint, not to assay the weight of the evidence which might be offered

 in support thereof.’” DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 113 (2d Cir. 2010) (quoting

 Cooper v. Parsky, 140 F.3d 433, 440 (2d Cir. 1998)). The Court “[is] not bound to accept as true

 a legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at 555.

 B. CONSIDERATION OF MATERIALS OUTSIDE THE COMPLAINT

        The Defendants attach multiple exhibits to their motion to dismiss: (1) the complaint; (2)

 a copy of the CBA; (3) the transfer letter, dated October 17, 2016; (4) a letter from Diamond dated

 November 22, 2016; (5) a medical questionnaire completed by the Plaintiff’s physician; (6) a

 Notice of Eligibility and Rights & Responsibilities; (7) a letter from Diamond, dated January 19,

 2017; (8) a letter from the Union, dated August 12, 2014; and (9) a copy of a PERB complaint,

 dated December 21, 2016.

        “[F]ederal courts have complete discretion to determine whether or not to accept the

 submission of any material beyond the pleadings offered in conjunction with a Rule 12(b)(6)

 motion.” Giugliano v. F3² Capital Partners, LLC, No. 14-cv-7240, 2015 WL 5124796 (E.D.N.Y.

 Sept. 1, 2015) (Spatt, J.) (internal citation and quotation marks omitted); Halebian v. Berv, 644

 F.3d 122, 131 n.7 (2d Cir. 2011) (noting the Second Circuit has recognized “exceptions to Rule

 12(b)(6)’s general prohibition against considering materials outside the four corners of the

 complaint”). In adjudicating this motion, the Court is permitted to consider:

        (1) facts alleged in the complaint and documents attached to it or incorporated in it
        by reference, (2) documents “integral” to the complaint and relied upon in it, even
        if not attached or incorporated by reference, (3) documents or information
        contained in [the] defendant’s motion papers if plaintiff has knowledge or
        possession of the material and relied on it in framing the complaint, (4) public

                                                  7
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 8 of 46 PageID #: 276



        disclosure documents required by law to be, and that have been, filed with the
        Securities and Exchange Commission, and (5) facts of which judicial notice may
        properly be taken under Rule 201 of the Federal Rules of Evidence.

 Envtl. Servs. v. Recycle Green Servs., 7 F. Supp. 3d 260, 270 (E.D.N.Y. 2014) (Spatt, J.) (quoting

 In re Merrill Lynch & Co., 273 F. Supp. 2d 351, 356-57 (S.D.N.Y. 2003), aff’d in part and vacated

 in part on other grounds sub nom. Dabit v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 395 F.3d

 25 (2d Cir. 2005), vacated on other grounds, 547 U.S. 71, 126 S. Ct. 1503, 164 L. Ed. 2d 179

 (2006)); accord Healthnow New York, Inc. v. Catholic Health Sys., Inc., No. 14-cv-986S, 2015

 WL 5673123 (W.D.N.Y. Sept. 25, 2015); Oberstein v. SunPower Corp., No. 07-cv-1155, 2010

 WL 1705868, at *3 (E.D.N.Y. Apr. 28, 2010).

        The Court finds that (1) a copy of the CBA; (2) the transfer letter, dated October 17, 2016;

 (3) a letter from Diamond dated November 22, 2016; (4) a medical questionnaire completed by

 the Plaintiff’s physician; (5) a Notice of Eligibility and Rights & Responsibilities; and (6) a letter

 from Diamond, dated January 19, 2017 are incorporated by reference and integral to the complaint.

 The Plaintiff specifically mentions these documents throughout the complaint and relied on their

 terms or contents while drafting the complaint. See, e.g., Compl. ¶¶ 31 (“On or about October 17,

 2016, Defendants Keith Anderson and Thomas Bilka issued Plaintiff a memo reassigning him and

 directing him to report to the [HBW] Campus in Riverhead, New York, effective October 28,

 2016.”), 40 (“Defendant Jill Diamond sent Plaintiff a letter dated November 22, 2016, directing

 him to report to [BOCES] Human Resources for a meeting on November 28, 2016, upon his return

 to work.”), 44 (“[A]t the November 28, 2016 meeting, Defendant Diamond continued and persisted

 in questioning Plaintiff’s disability and gave him forms for his doctor to complete, although his

 disability had previously been documented.”), 46 (“Plaintiff took the forms and presented them to

 his doctor who completed them for submission to Defendant Diamond.”), 47 (“Following the

                                                   8
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 9 of 46 PageID #: 277



 November 28, 2016 meeting with Defendant Diamond, Paintiff received a correspondence from

 Marysue Dileva, employee benefits supervisor for [BOCES], regarding rights and responsibilities

 under the [FMLA].”), 60 (“Following Plaintiff’s numerous requests to Diamond about his

 administrative leave status, on or about January 19, 2017, Plaintiff received a letter from Defendant

 Diamond, directing him to report to [JAC] for a temporary reassignment, to work from 10:00 a.m.

 to 6:00 p.m.”).

        These allegations indicate that the Plaintiff “‘relie[d] heavily upon [these documents’]

 terms and effect,’ thereby rendering the document[s] ‘integral’ to the complaint.’” DiFolco, 622

 F.3d at 111 (internal citations omitted). See, e.g., Gesualdi v. Fazio, No. 16-CV-5209, 2017 WL

 8794775, at *1 n.2 (E.D.N.Y. Dec. 12, 2017), report and recommendation adopted sub nom.

 Gesualdi v. Difazio, No. 16-CV-5209, 2018 WL 1202640 (E.D.N.Y. Mar. 8, 2018) (ruling that

 “because the CBAs between [the company] and [the union] are integral to the complaint and

 referenced therein, the Court can consider them”); Pearson Capital Partners LLC v. James River

 Ins. Co., 151 F. Supp. 3d 392, 402 (S.D.N.Y. 2015) (“The Complaint thus ‘relies on the terms and

 effect’ of the [letters], rendering those documents ‘integral’ to the Complaint and appropriate for

 consideration in adjudicating a motion to dismiss.” (internal citations omitted)); Johnson v. Levy,

 812 F. Supp. 2d 167, 177 (E.D.N.Y. 2011) (Spatt, J.) (considering letters because “they were

 incorporated by reference and … integral to the complaint”).

        Further, the Court also finds that (1) a letter from the Union, dated August 12, 2014; and

 (2) a copy of a PERB complaint, dated December 21, 2016 were relied upon in framing the

 complaint. These documents are attached to and discussed in the Defendants’ motion to dismiss.

 While they were not specifically referenced, the complaint makes it clear that the Plaintiff had

 notice of and relied on these documents when filing suit. See, e.g., Compl. ¶¶ 4 (“Mr. Laface has

                                                  9
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 10 of 46 PageID #: 278



  been retaliated against, harassed and targeted by [BOCES], its agents and employees …”); 33

  (“The time of the notification of Plaintiff’s reassignment was just a few days before Plaintiff was

  scheduled to testify at an arbitration on behalf of the union related to a grievance that had been

  filed by the union on July 16, 2015, alleging harassment and discrimination.”) 34 (“Plaintiff had

  also filed an internal complaint with [BOCES] under its anti-bullying policy …”); 119 (“Plaintiff

  had filed a grievance, through the union, to contest action by [BOCES], which was in violation of

  the union contract …”). As such, the Court will consider these documents for the purposes of this

  motion. See, e.g., Williams v. Potter, No. 06 Civ. 8258, 2007 WL 2375818, at *1 (S.D.N.Y. Aug.

  14, 2007) (considering a series of letters in deciding a motion to dismiss because “the Plaintiff had

  notice and relied upon [them] in framing his Complaint”).

         Accordingly, the Court will consider the above-mentioned documents for purposes of

  adjudicating the instant motion.

  C. DISCRIMINATION CLAIMS

         In his first, third, and fifth cause of action, the Plaintiff asserts that BOCES and the Board

  unlawfully discriminated against him, in violation of the ADA, the ADEA, and the Rehabilitation

  Act.

         1. The Americans with Disabilities Act & the Rehabilitation Act

         The ADA provides that “[n]o covered entity shall discriminate against a qualified

  individual with a disability because of the disability of such individual in regard to job application

  procedures, the hiring, advancement, or discharge of employees, employee compensation, job

  training, and other terms, conditions, and privileges of his employment.” 42 U.S.C. § 12112(a).

  Disability is defined in the statute as “(1) a physical or mental impairment that substantially limits

  one or more of the major life activities of [an] individual; or (2) a record of such an impairment;

                                                   10
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 11 of 46 PageID #: 279



  or (3) being regarded as having such an impairment.” 42 U.S.C. § 12101(2). Claims alleged under

  the ADA and Section 504 of the Rehabilitation Act are analyzed identically. See Henrietta D. v.

  Bloomberg, 331 F.3d 261, 272 (2d Cir. 2003).

         Disability discrimination is analyzed under the three-part, burden-shifting framework

  established in McDonnell Douglas. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct.

  1817, 36 L. Ed. 2d 668 (1973); Parker v. Columbia Pictures Indus., 204 F.3d 326, 332 n.1 (2d Cir.

  2000) (ADA claims are evaluated under the McDonnell Douglas framework). To do so, first the

  Plaintiff must first establish a prima facie case of discrimination. If he does, the burden shifts to

  the Defendants to articulate a legitimate, non-discriminatory reason for their actions. The burden

  then shifts back to the Plaintiff to prove that discrimination was the true reason behind the

  Defendants actions. Graham v. Long Island R.R., 230 F.3d 34, 39 (2d Cir. 2000).

         “To establish a prima facie case of discrimination under the ADA, a plaintiff must show:

  (1) [his] employer is subject to the ADA; (2) [he] is disabled within the meaning of the ADA; (3)

  [he] is otherwise qualified to perform the essential functions of [his] job; and (4) [he] suffered an

  adverse employment action because of [his] disability.” Alexander v. DiDomenico, 324 F. App’x

  93, 95 (2d Cir. 2009) (citing Jacques v. DiMarzio, Inc., 386 F.3d 192, 198 (2d Cir. 2004)).

         “However, the survival of a complaint under Rule 12(b)(6) scrutiny in an employment

  discrimination case ‘does not rest on whether it contains specific facts establishing a prima facie

  case under McDonnell Douglas.’” Figueroa v. RSquared NY, Inc., 89 F. Supp. 3d 484, 489

  (E.D.N.Y. 2015) (Spatt, J.) (quoting Lax v. 29 Woodmere Blvd. Owners, Inc., 812 F.Supp.2d 228,

  236 (E.D.N.Y. 2011)); Fanelli v. New York, 51 F. Supp. 3d 219, 231 (E.D.N.Y. 2014) (Spatt, J.);

  Friel v. Cty. of Nassau, 947 F. Supp. 2d 239, 251 (E.D.N.Y. 2013) (Spatt, J.). “This is because, at

  the pleading stage, courts do not apply the McDonnell Douglas burden shifting test to analyze the

                                                   11
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 12 of 46 PageID #: 280



  evidentiary support for the discrimination claims.” Figueroa, 89 F. Supp. 3d at 489; Fanelli, 51

  F. Supp. 3d at 231; Friel, 947 F. Supp. 2d at 251; see also Gonzalez v. Carestream Health, Inc.,

  520 F. App’x 8, 9-10 (2d Cir. 2013) (“To survive a motion to dismiss, a complaint alleging

  workplace discrimination ... need not allege specific facts establishing a prima facie case of

  discrimination under McDonnell Douglas ....”).

          Instead, “[this Court] consider[s] only whether the complaint includes factual allegations

  sufficient ‘to raise a right to relief above the speculative level.’” Gonzalez, 520 F. App’x at 10

  (quoting Twombly, 550 U.S. at 555). “In other words, the Court asks only whether a plaintiff has

  pled a prima facie case, not whether a plaintiff has established that case. Thus, the standard is

  simply whether the plaintiff’s complaint, construed liberally, satisfies the federal pleading

  requirements for a claim of discrimination.” Figueroa, 89 F. Supp. 3d at 489; Fanelli, 51 F. Supp.

  3d at 231 (same); Friel, 947 F. Supp. 2d at 251 (same); see also Kassner v. 2nd Ave. Delicatessen

  Inc., 496 F.3d 229, 238 (2d Cir. 2007) (“Plaintiffs need only comply with Rule 8(a)(2) by providing

  a short and plain statement of the claim that shows that plaintiffs are entitled to relief and that gives

  the defendants fair notice of plaintiffs' claims of age discrimination and the grounds upon which

  those claims rest.”). In the causation context, this means the Plaintiff needs only allege a set of

  facts that it makes it “plausible” that the Plaintiff’s disability was a “motivating factor” in the

  adverse employment action. Fanelli, 51 F. Supp. at 232.

          To determine whether or not a plaintiff suffers from a disability, the Supreme Court

  compels district courts to follow a three-step process to conclude: “(1) whether plaintiff had an

  impairment; (2) whether the impairment affected a ‘major life activity’ within the meaning of the

  ADA; and (3) whether that major life activity was substantially limited by the impairment.” Mazza

  v. Bratton, 108 F. Supp. 2d 167, 173 (E.D.N.Y. 2000) (citing Bragdon v. Abbott, 524 U.S. 624,

                                                     12
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 13 of 46 PageID #: 281



  631, 118 S. Ct. 2196, 141 L. Ed. 2d 540 (1998)); Felix v. New York City Transit Auth., 324 F.3d

  102, 104 (2d Cir. 2003) (same). If he fails to satisfy any of these three prongs, the Plaintiff’s

  discrimination claim must be dismissed.

                 a. Impairment

         The Defendants contend that the Plaintiff’s condition does not constitute a physical or

  mental impairment under the ADA. The Equal Employment Opportunity Commission defines

  “physical or mental impairment” as:

         (1) any physiological disorder or condition, cosmetic disfigurement, or anatomical
         loss affecting one or more of the following body systems, such as neurological,
         musculoskeletal, special sense organs, respiratory (including speech organs),
         cardiovascular, reproductive, digestive, genitourinary, immune, circulatory, hemic,
         lymphatic, skin, and endocrine; or

         (2) any mental or psychological disorder, such as an intellectual disability (formerly
         termed “mental retardation”), organic brain syndrome, emotional or mental illness,
         and specific learning disabilities.

  29 CFR § 1630.2(h). “‘[G]reat deference’ [is accorded] to the EEOC’s interpretation of the ADA,

  since it is charged with administering the statute.” Francis v. City of Meriden, 129 F.3d 281, 283

  n.1 (2d Cir. 1997).

         The Plaintiff alleges that he suffers from stress and anxiety that preclude him from driving

  more than ten miles from his home. “[S]tress and depression are conditions that may or may not

  be considered impairments, depending on whether these conditions result from a documented

  physiological or mental disorder.” Santos v. City of New York, 01 Civ. 0120, 2001 WL 1568813,

  *4 (S.D.N.Y. Dec. 7, 2001) (quoting EEOC Technical Assistance Manual on the Employment

  Provisions (Title I) of the Americans With Disabilities Act § 2.1(a)(i), at II-3 (1992)). The

  Defendants contend that he suffers from job-related stress or anxiety. However, Laface describes

  his condition as more than just anxiety or stress resulting from his job. The complaint states that

                                                  13
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 14 of 46 PageID #: 282



  the Plaintiff’s driving restriction is due to his psychological disorder. He does not argue that this

  restriction is limited to work-related driving. At the pleading stage, Laface has successfully

  alleged that he suffers from an impairment within the meaning of the ADA.

                 b. Major Life Activities

         The Defendants further contend that Laface’s impairment does not substantially limit a

  major life activity. “In deciding whether a particular activity is a ‘major life activity,’ [the Court]

  ask[s] whether that activity is a significant one within the contemplation of the ADA, rather than

  whether that activity is important to a particular plaintiff.” MacGovern v. Hamilton Sunstrand

  Corp., 170 F. Supp. 2d 301, 308 (D. Conn. 2001). “[T]he touchstone for determining an activity’s

  inclusion under the statutory rubric is its significance.” Bragdon, 524 U.S. at 638. “Major life

  activities” include “[c]aring for oneself, performing manual tasks, seeing, hearing, eating, sleeping,

  walking, standing, sitting, reaching, lifting, bending, speaking, breathing, learning, reading,

  concentrating, thinking, communicating, interacting with others, and working[.]” 29 C.F.R. §

  1630.2(I)(i); see also Toyota Motor Mfg., Ky., Inc. v. Williams, 534 U.S. 184, 197, 122 S. Ct. 681,

  151 L. Ed. 2d 615 (2002) (major life activities are “those activities that are of central importance

  to daily life”). This list is illustrative, not exhaustive. Bragdon, 524 U.S. at 631. In this Circuit,

  courts have previously ruled that sitting, standing, sleeping, lifting and reaching are major life

  activities. Colwell v. Suffolk Cty. Police Dept., 158 F.3d 635, 642 (2d Cir. 1998), superseded by

  statute on other grounds by 42 U.S.C. § 12102(3)(A).

         The Plaintiff alleges that he is unable to drive or commute to a job that is further than ten

  miles from his residence. However, this Circuit has repeatedly held that driving is not a major life

  activity. Capobianco v. City of New York, 422 F.3d 47, 58 n.7 (2d Cir. 2005); Usala v. Consol.

  Edison Co. of New York, 141 F. Supp. 2d 373, 382 (S.D.N.Y. 2001) (finding that the Plaintiff’s

                                                    14
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 15 of 46 PageID #: 283



  driving limitations do not impeded a major life activity and noting that “the [Second Circuit] has

  held that driving is not a ‘major life activity’ under the ADA” (citing Colwell, 158 F.3d at 643)).

  Further, being unable to use public transportation as an alternative to driving does not rise to the

  level of a major life activity. This restriction more closely resembles the limitations found in the

  regulations or the jurisprudence of this Circuit which are not considered major life activities rather

  than those which have been found to qualify as such.

                 c. Substantial Limitation

         The final step in determining whether a plaintiff has a disability under the ADA is to find

  whether he has alleged that his impairment substantially limits any major life activities. Bragdon,

  524 U.S. at 639; see Ryan v. Grae & Rybicki, P.C., 135 F.3d 867, 870 (2d Cir. 1998) (“In assessing

  whether a plaintiff has a disability, courts have been careful to distinguish impairments which

  merely affect major life activities from those that substantially limit those activities.”). “The need

  to identify a major life activity that is affected by the plaintiff’s impairment plays an important

  role in ensuring that only significant impairments will enjoy the protection of the ADA.” Reeves

  v. Johnson Controls World Servs., 140 F.3d 144, 152 (2d Cir. 1998). As the Plaintiff has not

  successfully pled that his impairment limits a major life activity, the Court is unable to address this

  element.

                 d. Regarded as Having an Impairment

         The Court notes that the Defendants did not regard the Plaintiff as having a disability. A

  person is “regarded as having” an impairment if he or she “‘establishes that he or she has been

  subjected to an action prohibited under [the ADA] because of an actual or perceived physical or

  mental or impairment whether or not the impairment limits or is perceived to limit a major life

  activity.’” Anderson v. Nat'l Grid, PLC, 93 F. Supp. 3d 120, 141 (E.D.N.Y. 2015) (quoting

                                                    15
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 16 of 46 PageID #: 284



  Laurent v. G & G Bus. Serv.. Inc., No. 10-CV-4055, 2011 WL 2683201, at *5-6 (S.D.N.Y. May

  17, 2011), report & recommendation adopted, 2011 WL 2693651 (S.D.N.Y. July 11, 2011)). This

  inquiry “turns on the employer’s perception of the employee and is therefore a question of intent,

  not whether the employee has a disability.” Colwell, 158 F.3d at 646. While the Plaintiff has

  alleged that he informed the Defendants of his disability, he has not alleged that his employer,

  BOCES, regarded him as disabled under the ADA. In fact, even when BOCES agreed to

  temporarily accommodate his disability, Diamond specifically noted that “it is not clear we are

  obligated to provide you with an accommodation.” DE 10-7.

         Therefore, the Court finds that the Plaintiff did not successfully contend that his employer

  regarded him as being disabled.

         The Plaintiff fails to allege facts from which it is possible to infer that he possesses a

  physical or mental impairment that substantially limits him in one or more major life activity. This

  failure precludes a failure to accommodate claim or a disability discrimination claim under his first

  cause of action.

         Accordingly, the Plaintiff’s cause of action is dismissed with prejudice.

         2. The Age Discrimination in Employment Act

         In his fifth claim, the Plaintiff alleges that BOCES and the Board discriminated against

  Laface based on his age.

         It is unlawful “for an employer to … discriminate against any individual with respect to

  his compensation, terms, conditions, or privileges of employment, because of such individual’s

  age[.]” 29 U.S.C. § 623(a)(1). “To establish a prima facie case of age discrimination under the

  ADEA, [a plaintiff] must show that: (1) [he] was within the protected age group; (2) [he] was

  qualified for [his] position; (3) [he] suffered an adverse employment action; and (4) the action took

                                                   16
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 17 of 46 PageID #: 285



  place under circumstances giving rise to an inference of discrimination.” Cordoba v. Beau Deitl

  & Assocs., No. 02 Civ. 4951, 2003 WL 22927874, at *8 (S.D.N.Y. Dec. 2, 2003) (citing Schnabel

  v. Abramson, 232 F.3d 83, 87 (2d Cir. 2000)).

         In the context of a motion to dismiss, a plaintiff must plausibly allege that an adverse action

  was taken against him by his employer that was caused by his age. See Vega v. Hempstead Union

  Free Sch. Dist., 801 F.3d 72, 87 (2d Cir. 2015). In other words, facts in the complaint must provide

  “plausible support to a minimal inference” of discriminatory causality. Littlejohn v. City of New

  York, 795 F.3d 297, 310-11 (2d Cir. 2015).

         The Defendants challenge the Plaintiff’s claim in two respects: (1) there was no adverse

  employment action; and (2) the facts in the complaint do not give rise to an inference of age

  discrimination. As discussed infra in Section II.D.1, Laface has plausibly alleged that his

  temporary transfer constituted an adverse employment action.

         However, the complaint does not contain sufficient facts to plausibly support an inference

  of age discrimination. While Laface mentions that he is over the age of 40 and that he was

  transferred to a different location with a change in his work hours, there is nothing in the pleading

  that allows the Court to infer that one was plausibly the cause of the other. The Plaintiff does not

  allege that any other BOCES employees were ever treated differently than younger employees,

  that he was replaced by a younger employee, or that any of the Defendants ever mentioned the

  Plaintiff’s age in any relevant conversation. Laface’s conclusory pleading regarding his ADEA

  claim are no more than “naked assertions devoid of further factual enhancement.” Iqbal, 556 U.S.

  at 678 (internal citations omitted). There is nothing in this complaint that indicates discriminatory

  motivation by the Defendants. Without more, the Plaintiff does not allege any facts that would

  support an inference that BOCES transferred the Plaintiff because of his age.

                                                   17
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 18 of 46 PageID #: 286



         Accordingly, the Plaintiff’s discrimination cause of action based on the ADEA is dismissed

  without prejudice.

  D. RETALIATION CLAIMS

         In his second and fourth claims, the Plaintiff asserts that BOCES and the Board retaliated

  against him, in violation of the ADA and Title VII.

         1. The Americans with Disabilities Act

          The Plaintiff argues that BOCES and the Board transferred him to HBW and JAC in

  retaliation for seeking an accommodation under the ADA. The Defendants counter that Laface

  has failed to allege a protected activity or an adverse employment action.

         To succeed in an ADA retaliation claim, a plaintiff must prove that:

         (i) a plaintiff was engaged in protected activity; (ii) the alleged retaliator knew that
         plaintiff was involved in protected activity; (iii) an adverse decision or course of
         action was taken against plaintiff; and (iv) a causal connection exists between the
         protected activity and the adverse action.

  Weixel v. Bd. of Educ. of the City of New York, 287 F.3d 138, 148-49 (2d Cir. 2002). To survive

  a motion to dismiss, “the plaintiff must plausibly allege that: (1) [his employer] discriminated—or

  took an adverse employment action—against him, (2) ‘because’ he has opposed any unlawful

  employment practice.” Vega, 801 F.3d at 90 (internal citations omitted).

                 a. Protected Activity

         The Plaintiff contends that his continued request for a reasonable accommodation from

  October 2016 to the present day constitutes a protected activity. “[I]t is well established that

  seeking a reasonable accommodation for a disability constitutes protected activity.” Rieger v.

  Orlor, Inc., 427 F. Supp. 2d 105, 120 (D. Conn. 2006) (internal citations omitted). Although

  Laface’s purported disability is not one within the meaning of the ADA, this does not preclude his

  continued requests from being considered a protected activity. As “long as [he] belie[ved] that
                                               18
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 19 of 46 PageID #: 287



  [he] was disabled when [he] requested the accommodation and the request was made in good

  faith,” the Plaintiff’s application established a protected activity. Id. (citing Munck v. New Haven

  Sav. Bank, 251 F. Supp. 2d 1078, 1087 (D. Conn. 2003)). The parties do not dispute that Laface

  was sincere in his belief that he was disabled and that his request was in good faith. Rather, the

  Defendants have taken the position that the Union’s CBA entitles them to transfer members

  without a reason, as they have done here. Accordingly, the Plaintiff’s requests constitute a

  protected activity.

                 b. Adverse Employment Action

         The parties are at odds, however, on whether the Defendants’ actions constitute an adverse

  employment action. The Plaintiff argues that his transfer from BTC, his temporary assignment at

  JAC, his time on temporary paid administrative leave, and an attempt to place him on FMLA leave

  are all adverse employment actions. An adverse employment action is “any action that ‘could well

  dissuade a reasonable worker from making or supporting a charge of discrimination.’” Vega, 801

  F.3d at 90 (internal citations omitted).

         An internal transfer can be an adverse employment action if “accompanied by a negative

  change in the terms and conditions of employment.” Morris v. Lindau, 196 F.3d 102, 113 (2d Cir.

  1999) abrogated on other grounds by Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 64,

  126 S. Ct. 2405, 165 L. Ed. 2d 345 (2006). The Plaintiff has alleged that both his transfer from

  BTC and his current temporary assignment contained significant changes to the terms of his

  employment. In support of this assertion, Laface contends that he was transferred in spite of his

  documented disability, which the Defendants were purportedly made aware of. His current

  temporary assignment requires a different shift and more manual labor than the previous position



                                                  19
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 20 of 46 PageID #: 288



  at BTC. At the pleading stage, these changes are sufficient to allege “negative change[s] in the

  terms and conditions of employment.” Morris, 196 F.3d at 113.

          However, the Plaintiff’s initial transfer, in October 2016, cannot form the basis for a

  retaliatory cause of action. Any and all requests for accommodations occurred after he was notified

  of his transfer to HBW in October 2016. In fact, it was this initial transfer that prompted him to

  seek accommodations in the first place. This transfer, which occurred prior to the purported

  protected activities cannot be an adverse employment action. See, e.g., Moy v. Perez, 712 F. App’x

  38, 40 (2d Cir. 2017) (finding that an adverse promotion decision was not an adverse employment

  action because “he does not allege prior participation in a protected activity”); Fraiberg v. 4Kids

  Entm't, Inc., No. 07 CV 01411, 2008 WL 821820, at *2 (S.D.N.Y. Mar. 26, 2008) (“It is logically

  impossible that the imposition of the General Release requirement was motivated by retaliatory

  animus since the condition was announced prior to the alleged protected activity.”); Pinero v. Long

  Island State Veterans Home, 375 F. Supp. 2d 162, 168 (E.D.N.Y. 2005) (Spatt, J.) (“There can be

  no inference of retaliatory animus where the adverse employment action occurred prior to the

  protected activity.”).

          Further, placing Laface on temporary paid administrative leave is not an adverse

  employment action. In Joseph v. Leavitt, 465 F.3d 87, 92 (2d Cir. 2006), the Second Circuit found

  that placing the plaintiff on paid suspension for five months during an investigation did not

  constitute an adverse employment action.       The Circuit stopped short of holding that paid

  suspensions would never be sufficient and noted that although “[a]n exceptionally dilatory

  investigation” might change the terms and conditions of employment in a sufficient manner, that

  was not the case before it. Laface was placed on paid administrative leave during his December

  23, 2016 meeting with Diamond and assigned a temporary work assignment on January 19, 2017.

                                                  20
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 21 of 46 PageID #: 289



  His leave lasted less than one month, and resulted in a work assignment that was within ten miles

  of his residence. As the Circuit noted in Joseph, “the terms and conditions of employment

  ordinarily include the possibility that an employee will be subject to an employer’s [leave] policies

  in appropriate circumstances.” Id. at 91.      This short, paid administrative leave, without more,

  cannot constitute an adverse employment action.

            The Court notes that the Plaintiff’s allegation that the Defendants attempted to place him

  on FMLA leave has no basis in the facts alleged in the complaint. The fact that the Defendants

  sent Laface a Notice of Eligibility and Rights & Responsibilities under the FMLA does not indicate

  that BOCES was trying to place him on FMLA leave. Rather, BOCES was required to provide

  him with notice regarding his eligibility under the statute. This notice does not form a separate

  adverse employment action for the Plaintiff’s ADA retaliation claim.

                   c. Causation

            Finally, the Defendants argue that the Plaintiff has not successfully established causation

  at the pleadings stage. “[F]or an adverse retaliatory action to be ‘because’ a plaintiff made a

  charge, the plaintiff must plausibly allege that the retaliation was a ‘but-for’ cause of the

  employer's adverse action.” Id. “[A] plaintiff alleging retaliation … must show that retaliation was

  a ‘but-for’ cause of the adverse action, and not simply a ‘substantial’ or ‘motivating’ factor in the

  employer's decision.” Kwan v. Andalex Grp. LLC, 737 F.3d 834, 845 (2d Cir. 2013) (citing Univ.

  of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360, 133 S. Ct. 2517, 2526, 186 L. Ed. 2d 503

  (2013)). In other words, “that the adverse action would not have occurred in the absence of the

  retaliatory motive” even if it was not “the only cause of the employer's action.” Kwan, 737 F.3d

  at 846.



                                                    21
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 22 of 46 PageID #: 290



         At the prima facie stage, causation may be shown: “(1) indirectly, by showing that the

  protected activity was followed closely by discriminatory treatment, or through other

  circumstantial evidence such as disparate treatment of fellow employees who engaged in similar

  conduct; or (2) directly, through evidence of retaliatory animus directed against the plaintiff by the

  defendant.” Gordon v. New York City Bd. of Educ., 232 F.3d 111, 117 (2d Cir. 2000); LaSalle v.

  City of New York, No. 13-cv-5109, 2015 WL 1442376, at *2 (S.D.N.Y. Mar. 30, 2015) (same).

         Here, the Plaintiff’s continued requests for reasonable accommodations following his

  notice of transfer are his only protected activities in the ADA context.          The only adverse

  employment act at issue is his temporary transfer on January 19, 2017.

         These activities do support an ADA retaliation claim. The circumstances alleged create a

  plausible inference of a causal nexus as a result of the temporal proximity between the Plaintiff’s

  continued requests for accommodation and his temporary transfer. Although the Second Circuit

  “has not drawn a bright line defining, for the purposes of a prima facie case, the outer limits beyond

  which a temporal relationship is too attenuated to establish a causal relationship,” Gorzynski v.

  JetBlue Airways Corp., 596 F.3d 93, 110 (2d Cir. 2010); Gorman-Bakos v. Cornell Co-op.

  Extension of Schenectady Cty., 252 F.3d 545, 554 (2d Cir. 2001) (same), district courts “have

  consistently held that a passage of more than two months between the protected activity and the

  adverse employment action does not allow for an inference of causation.”                Beaumont v.

  Cablevision Sys. Corp., No 10-CV-3585, 2012 WL 1158802, at *6 (E.D.N.Y. Apr. 9, 2012)

  (internal citations omitted).

         Since October 19, 2016, when he was informed of his original transfer, Laface had

  consistently requested that the Defendants grant him what he viewed as a reasonable

  accommodation for his purported disability. The Plaintiff reiterated his requests in multiple

                                                   22
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 23 of 46 PageID #: 291



  forums: through his union, his attorney, and in various communications with the Defendants. This

  included in-person meetings with Diamond on November 28, 2016, and December 23, 2016, where

  the Plaintiff restated his request for an accommodation in person. Laface’s temporary assignment

  on January 19, 2017 occurred within one and two months of these meetings. His continued

  engagement in his protected activity over the course of the fall and winter of 2016 and into 2017

  create sufficient temporal proximity to establish causation. See, e.g., Vega, 801 F.3d at 92 (two

  months); Conforti v. Sunbelt Rentals, Inc., 201 F.Supp.3d 278, 303–04 (E.D.N.Y. 2016) (Spatt, J.)

  (two months); Baron v. Advanced Asset & Prop. Mgmt. Sols., LLC, 15 F. Supp. 3d 174, 283

  (E.D.N.Y. 2014) (five to six weeks); Kennebrew v. New York City Hous. Auth., No. 01-cv-1654,

  2002 WL 265120 (S.D.N.Y. Feb. 26, 2002) (Report and Recommendation) (one month).

         Accordingly, the Plaintiff’s ADA retaliation claim alleging the Defendants retaliated

  against the Plaintiff by temporarily reassigning him survives. The remainder is dismissed with

  prejudice.

         2. Title VII

         The Plaintiff further pleads that the Defendants retaliated against him on the basis of his

  disability, in violation of Title VII. Title VII retaliation claims are analyzed under the same

  framework as ADA retaliation causes of action. See Lovejoy-Wilson v. NOCO Motor Fuel, Inc.,

  263 F.3d 208, 222-23 (2d Cir. 2001). Title VII prohibits employers from retaliating against

  employees because they have “opposed any practice made an unlawful employment practice by

  this subchapter, or because [they] made a charge, testified, assisted, or participated in any manner

  in an investigation, proceeding, or hearing under this subchapter.” Vega, 801 F.3d at 89-90

  (quoting 42 U.S.C. § 2000e-3(a)); accord Hicks v. Baines, 593 F.3d 159, 166 (2d Cir. 2010). Thus,

  an employer is barred “from taking ‘materially adverse’ action against an employee because the

                                                  23
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 24 of 46 PageID #: 292



  employee opposed conduct that Title VII forbids or the employee otherwise engaged in protected

  activity.” Tepperwien v. Entergy Nuclear Operations, Inc., 663 F.3d 556, 567-68 (2d Cir. 2011)

  (citing White, 548 U.S. at 56, 59).

         As with Title VII discrimination claims and ADA retaliation claims, the McDonnell

  Douglas Corp. burden-shifting framework is used in adjudicating Title VII retaliation claims. See

  Jute v. Hamilton Sundstrand Corp., 420 F.3d 166, 173 (2d Cir. 2005). “The allegations in the

  complaint need only give plausible support to the reduced prima facie requirements that arise under

  McDonnell Douglas in the initial phase of a Title VII litigation.” Littlejohn, 795 F.3d at 316;

  accord Jute, 420 F.3d at 173 (“In determining whether this initial burden is satisfied in a Title VII

  retaliation claim, the court's role in evaluating a summary judgment request is to determine only

  whether proffered admissible evidence would be sufficient to permit a rational finder of fact to

  infer a retaliatory motive.”). A prima facie case of retaliation is established when “a retaliatory

  motive plays a part in adverse employment actions toward an employee, whether or not it was the

  sole cause.” Cosgrove v. Sears, Roebuck & Co., 9 F.3d 1033, 1039 (2d Cir. 1993).

         Laface contends that the Defendants transferred him after he initiated numerous complaints

  to BOCES that complained of alleged discrimination on account of his disability. Beginning in

  2015, he made a series of complaints to the Defendants regarding purported improper and wasteful

  expenditures of public funds, misuse of public funds, and contracting practices. He also filed an

  internal complaint with BOCES regarding his treatment in the workplace, was allegedly involved

  in a grievance filed by the Union regarding harassment and discrimination that occurred in 2014,

  and filed a grievance with PERB regarding the use of contractors without custodial employees

  present.



                                                   24
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 25 of 46 PageID #: 293



          However, the Plaintiff’s Title VII retaliation claim on the basis of a disability is precluded

  by the statute. Title VII does not prohibit discrimination or retaliation on the basis of a disability.

  Julian v. New York City Transit Auth., 857 F. Supp. 242, 250 (E.D.N.Y. 1994) (noting that the

  ADA was enacted because “unlike individuals who have experienced discrimination on the basis

  of race, color, sex, national origin, religion, or age, individuals who have experienced

  discrimination on the basis of disability have often had no legal recourse to redress such

  discrimination”), aff’d, 52 F.3d 312 (2d Cir. 1995); Chiesa v. New York State Dep't of Labor, 638

  F. Supp. 2d 316, 324 (N.D.N.Y. 2009) (“While … Title VII prohibits numerous forms of

  employment discrimination, the discrimination must be caused by one of the characteristics

  mentioned in [the statute].”). All of Laface’s alleged protected activities pertain to his disability

  or general union grievances regarding workplace disputes. He does not assert any discrimination

  by the Defendants that relates to any of the characteristics discussed in 42 U.S.C. § 2000e-2. As

  a result, the Plaintiff fails to allege any facts that give rise to a Title VII retaliation claim.

          Accordingly, the Plaintiff’s Title VII retaliation claim is dismissed with prejudice.

  E. SECTION 1983 CLAIMS

          The Plaintiff asserts Section 1983 claims grounded in the First Amendment as well as the

  Fourteenth Amendment to the United States Constitution against all the Defendants.

          Section 1983 provides, in relevant part,

          any person who, under color of any statute, ordinance, regulation, custom, or usage,
          of any State or Territory ... subjects, or causes to be subjected, any citizen of the
          United States or other person within the jurisdiction thereof to the deprivation of
          any rights, privileges, or immunities secured by the Constitution and laws, is liable
          to the injured party for damages.

  42 U.S.C. § 1983. To state a § 1983 claim, a plaintiff must allege: (1) that the challenged conduct

  was “committed by a person acting under color of state law”; and (2) that such conduct “deprived

                                                      25
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 26 of 46 PageID #: 294



  [the plaintiff] of rights, privileges, or immunities secured by the Constitution or laws of the United

  States.” Cornejo v. Bell, 592 F.3d 121, 127 (2d Cir. 2010) (quoting Pitchell v. Callan, 13 F.3d

  545, 547 (2d Cir. 1994)). Section 1983 does not create any independent substantive right, but

  rather is a vehicle to “redress ... the deprivation of [federal] rights established elsewhere.” Thomas

  v. Roach, 165 F.3d 137, 142 (2d Cir. 1999); see also Rosa R. v. Connelly, 889 F.2d 435, 440 (2d

  Cir. 1989).

         1. First Amendment

                 a. Speech

         The Plaintiff alleges that the Defendants transferred him from BTC for speaking out on

  purported improper and wasteful expenditures of public funds, misuse of public funds and illegal

  contracting practices.

         The First Amendment states, in relevant part: “Congress shall make no law … abridging

  the freedom of speech.” U.S. CONST. amend. I. To successfully plead a First Amendment

  retaliation claim based on speech, a plaintiff must allege that “(1) he engaged in constitutionally

  protected speech; (2) he suffered an adverse employment action; and (3) the speech was a

  ‘motivating factor’ in the adverse employment decision.” Licopoli v. Mineola Union Free Sch.

  Dist., No. 09–3974, 2010 WL 4961667, at *5 (E.D.N.Y. Dec. 1, 2010) (internal quotations

  omitted). In general, the Second Circuit has established that “the government, acting as an

  employer, may regulate the speech of its employees far more extensively than that of the general

  public.” DelBene v. Alesio, No. 00–cv–7441, 2001 WL 170801, at *6 (S.D.N.Y. Feb. 21, 2001)

  (citing Waters v. Churchill, 511 U.S. 661, 671–72, 114 S. Ct. 1878, 128 L. Ed. 2d 686 (1994)

  (plurality opinion)); cf. Lewis v. Cowen, 165 F.3d 154, 158 (2d Cir. 1999) (“It is by now well



                                                   26
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 27 of 46 PageID #: 295



  established that public employees do not check all of their First Amendment rights at the door

  upon accepting public employment.”).

         To determine whether a public employee is engaged in constitutionally protected speech,

  the Court must decide “whether the employee spoke as a citizen on a matter of public concern.”

  Garcetti v. Ceballos, 547 U.S. 410, 418, 126 S. Ct. 1951, 164 L. Ed. 2d 689 (2006). As Justice

  White opined:

         When a public employee speaks not as a citizen upon matters of public concern,
         but instead as an employee upon matters of only personal interest, absent the most
         unusual circumstances, a federal court is not the appropriate forum in which to
         review the wisdom of a personnel decision taken by a public agency allegedly in
         reaction to the employee's behavior....Whether an employee's speech addresses a
         matter of public concern must be determined by the content, form, and context of a
         given statement, as revealed by the whole record.

  Connick v. Myers, 461 U.S. 138, 147-48, 103 S. Ct. 1684, 75 L. Ed. 2d 708 (1983).

         If he is not speaking as a matter of public concern, he cannot state a First Amendment claim

  for retaliation. However, if he is, the Court must then determine “whether the relevant government

  entity had an adequate justification for treating the employee differently from any other member

  of the general public.” Garcetti, 547 U.S. at 418. For speech to relate on a matter of public

  concern, it must touch on a matter of political, social or other concern pertinent to the community.

  Connick, 461 U.S. at 146; see also Ruotolo v. City of New York, 514 F.3d 184, 189 (2d Cir. 2008)

  (finding that in order for speech to be protected, it must “seek to advance a public purpose”).

  Further, Courts look to the speaker’s motive to determine if it involves public concern. In other

  words, “speech on a purely private matter” or a personal grievance is unlikely to involve matters

  that impact the public. See Sousa v. Roque, 578 F.3d 164, 174 (2d Cir. 2009). In the alternative,

  the Second Circuit has held that if a plaintiff “wanted to debate issues of … discrimination, …

  sought relief against pervasive or systemic misconduct by a public agency or public officials, or

                                                  27
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 28 of 46 PageID #: 296



  [filed an action that] was part of an overall effort to correct allegedly unlawful practices or bring

  them to public attention,” it involves the public interest. Huth v. Haslun, 598 F.3d 70, 75 (2d Cir.

  2010) (internal citations omitted).

         Here, the Plaintiff argues that he made numerous complaints to BOCES and the Board

  regarding improper and wasteful expenditures of public funds, misuse of public funds and illegal

  contracting practices. The Defendants cite Ruotolo as support for their argument that the Plaintiff’s

  speech is not a matter of public concern. In Ruotolo, a retired police sergeant alleged retaliation

  in violation of the First Amendment for preparing a report concerning health conditions at his

  former precinct and filing a lawsuit in the wake of this report. There, the Second Circuit held that

  “generalized public interest in the fair or proper treatment of public employees” is insufficient to

  implicate a matter of public concern if it merely involves a personal grievance related to that

  employee’s employment conditions. Ruotolo, 514 F.3d at 190; see also Singer v. Ferro, 711 F.3d

  334, 340 (2d Cir. 2013) (“First Amendment does not protect all private ventings of disgruntled

  public employees.”).

         Based on the Plaintiff’s complaint, the speech at issue here seems fundamentally different

  than the type of workplace complaints present in Ruotolo. Laface’s complaints to BOCES and the

  Board involved improper use of public funds as well as potentially illegal contracting practices.

  These issues implicate potential public corruption or misconduct on the part of the Board and

  BOCES. Such claims are almost always considered by the courts as a matter of public concern.

  See, e.g., Rookard v. Health & Hosps. Corp., 710 F.2d 41, 46 (2d Cir. 1983) (finding that an

  employees allegations of “corrupt and wasteful practices” implicated matters of public concern);

  Murray v. Town of N. Hempstead, 853 F. Supp. 2d 247, 264 (E.D.N.Y. 2012) (Spatt, J.) (“‘[P]ublic

  corruption or wrongdoing’ is almost always a matter of public concern (internal citations omitted));

                                                   28
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 29 of 46 PageID #: 297



  Israel v. Abate, 949 F. Supp. 1035, 1041 (S.D.N.Y. 1996) (“Issues of public concern protected by

  the First Amendment include public institutional policies, the integrity of governmental entities,

  breaches of public trust or the expenditure of public funds.”).

         While the Defendants contend that Laface’s speech related to his official duties, at this

  early stage of the case, the Court finds that the Plaintiff has pled sufficient facts to establish that

  his speech involved conduct outside the scope of his employment.               While further factual

  development may shed additional light on the Defendants’ contention, the parties must wait until

  the completion of discovery. Consequently, the Plaintiff has adequately alleged that the speech at

  issue here is on matters of public concern and therefore a protected activity.

         The Defendants further contend that Laface was not subjected to any adverse employment

  actions. In the First Amendment context, an adverse action involves “retaliatory conduct that

  would deter a similarly situated individual of ordinary firmness from exercising his or her

  constitutional rights.” Zelnik v. Fashion Inst. of Tech., 464 F.3d 217, 225 (2d Cir. 2006) (quoting

  Washington v. Cty. of Rockland, 373 F.3d 310, 320 (2d Cir. 2004)). As discussed supra in Section

  II.D.1, Laface’s temporary assignment does constitute an adverse employment action in the ADA

  context. Regarding the instant claim, the Second Circuit has found that “negative evaluation

  letters, express accusations of lying, assignment of lunchroom duty, reduction of class preparation

  periods, failure to process … insurance forms, transfer from library to classroom teaching as an

  alleged demotion, and assignment to [a] classroom … which aggravated [the] teacher’s physical

  disabilities” can qualify as adverse employment actions. Id. at 226. The changes in the terms and

  conditions of the Plaintiff’s employment that resulted from his temporary transfer are sufficient to

  deter similar individuals from engaging in protected speech.



                                                    29
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 30 of 46 PageID #: 298



         Finally, the Defendants contend that the Plaintiff failed to plead causality between the

  adverse employment action and protected speech. A plaintiff must allege that “there was a causal

  connection between this adverse action and the protected speech.” Matthews v. City of New York,

  779 F.3d 167, 172 (2d Cir. 2015) (quoting Cox v. Warwick Valley Cent. Sch. Dist., 654 F.3d 267,

  272 (2d Cir. 2011)). “A plaintiff may establish causation either directly through a showing of

  retaliatory animus, or indirectly through a showing that the protected activity was followed closely

  by the adverse action.” Smith v. Cty. of Suffolk, 776 F.3d 114, 118 (2d Cir. 2015) (citing Cobb v.

  Pozzi, 363 F.3d 89, 108 (2d Cir. 2004)); Mandell v. Cty. of Suffolk, 316 F.3d 368, 383 (2d Cir.

  2003) (same).

         The Defendants argue that the lack of temporal proximity precludes the finding of a causal

  connection. In a motion to dismiss, “the plaintiff’s pleading need not clearly establish that the

  defendant harbored retaliatory intent. It is sufficient to allege facts which could reasonably support

  an inference to that effect.” Posr v. Court Officer Shield No. 207, 180 F.3d 409, 418 (2d Cir.

  1999). The complaint details a litany of activity that the Plaintiff participated in regarding his

  grievances with the Defendants that occurred over a period of years. He alleges that since 2015,

  he made numerous complaints regarding potential public corruption as well as improper

  contracting practices and discrimination based on his disability. However, while Laface has

  alleged facts involving his July 16, 2015 Union grievance, he has not provided any factual support

  of his public corruption complaints that allow the Court to infer intent either directly or through

  temporal proximity. Without additional support, Laface has failed to allege sufficient facts to

  determine whether a reasonable finding can be made regarding a causal connection.

         Accordingly, the Plaintiff’s claim of First Amendment retaliation as it pertains to speech

  is dismissed without prejudice.

                                                   30
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 31 of 46 PageID #: 299



                 b. Redress of Grievances

         The Plaintiff alleges that the Defendants transferred him from BTC for filing a grievance

  and agreeing to testify at the related hearing.

         The First Amendment states, in relevant part, that “Congress shall make no law …

  abridging … the right of the people … to petition the Government for a redress of grievances.”

  U.S. CONST. amend. I. “Indeed, the First Amendment protects not just the right of access to the

  courts but also ‘[t]he rights to complain to public officials and to seek administrative and judicial

  relief.’” Hampton Bays Connections, Inc. v. Duffy, 127 F. Supp. 2d 364, 372 (E.D.N.Y. 2001)

  (Spatt, J.) (quoting Gagliardi v. Vill. of Pawling, 18 F.3d 188, 194 (2d Cir.1994)). Courts review

  redress of grievances using the same constitutional analysis as the right to free speech. White

  Plains Towing Corp. v. Patterson, 991 F.2d 1049, 1059 (2d Cir. 1993).

         The Plaintiff bases this cause of action on the July 2015 grievance with the PERB which

  involves an incident at BTC where contractors allegedly worked on the exterior of the building

  without custodians present. Laface reported this violation to the Union and was scheduled to

  testify on behalf of the Union at the arbitration hearing on November 2, 2016. The Defendants

  contend that Laface’s role in this Union grievance is unprotected because it implicates a personal

  complaint rather than a matter traditionally held to be of public concern.

         To determine whether a petition is a matter of public concern, “the Court must look at the

  substance of the complaints themselves to determine whether they address a matter of public

  concern.” Bates v. Bigger, 192 F. Supp. 2d 160, 172 (S.D.N.Y. 2002), aff’d, 56 F. App’x 527 (2d

  Cir. 2002). The instant grievance involves an issue that intimately impacts the conditions of his

  employment at BTC. Laface’s issue with the presence of custodians during exterior building work

  is a personal employment grievance, not a matter “of political, social, or other concern to the

                                                    31
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 32 of 46 PageID #: 300



  community.” Hueston v. City of New York, No. 00-cv-9512, 2005 WL 53256, at *6 (S.D.N.Y. Jan.

  10, 2005) (quoting Connick, 461 U.S. at 146). The complaint involved only impacted the hours

  and wages of himself and his fellow Union members. Any issues raised by the grievance involves

  questions of employee distribution and resources, more akin to dissatisfaction with the status quo

  working environment than an attempt to reveal issues of wrongdoing. This is not an issue that

  impacts the public-at-large, safety or the administration of public resources and stands in stark

  contrast to grievances traditionally held by the Second Circuit to implicate public concern. See,

  e.g., Gorman-Bakos, 252 F.3d at 553 n.4 (“speech focused on the safety of young children at horse

  shows” is a matter of public concern).

         The Plaintiff cites Sousa v. Rogue, 578 F.3d 164 (2d Cir. 2009) and Golodner v. Berliner,

  770 F.3d 196 (2d Cir. 2014) to support his contention that his grievance is protected by the First

  Amendment. In Sousa, the Second Circuit found that the district court had mistakenly concluded

  that the plaintiff’s speech was not a matter of public concern because he was motivated by his

  employment gripes and emphasized that the speech at issue must be evaluated using “the content,

  form, and context of a given statement, as revealed by the whole record.” Sousa, 578 F.3d at 175

  (quoting Connick, 461 U.S. at 147-48). While motive may influence this determination, it is not

  dispositive. Id. As the Second Circuit instructed in Sousa, the Court has used motive as a factor

  in making its decision, but evaluated the grievance using the Sousa factors taking into account the

  entirety of the record at this early procedural stage. Laface’s conduct was not only focused on his

  private motives, but on a topic that has no relation to public welfare, safety or health.

         In Golodner, the plaintiff’s speech related to potential policies of the New London Police

  Department that “raise[d] serious constitutional concerns.” 770 F.3d at 205. The Second Circuit

  ruled that allegations of police department misconduct that implicated citizens’ constitutional

                                                   32
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 33 of 46 PageID #: 301



  rights undoubtedly raise issues that are the public’s concern. Id. at 204. As the Union’s grievance

  pertaining to the presence of custodial staff during renovations does not involve any “pervasive or

  systemic misconduct” by public officials nor an “effort to correct allegedly unlawful practices or

  bring them to public attention,” Golodner is apposite. Id. at 203.

         Reading the complaint in a light most favorable to the Plaintiff, the Court concludes that

  the Laface’s grievances do not implicate maters of public concern. Accordingly, the Plaintiff’s

  related Section 1983 First Amendment retaliation cause of action is dismissed with prejudice.

         2. Procedural Due Process

         The Plaintiff argues that the Defendants violated the Plaintiff’s Fourteenth Amendment

  right to procedural due process by refusing to have “an interactive process” to discuss his request

  for accommodations and declining to investigate complaints of bullying and harassment.

         The Fourteenth Amendment to the United States Constitution states in part that “[n]o State

  shall … deprive any person of life, liberty, or property, without due process of law.” U.S. CONST.

  amend. XIV. To allege a procedural due process claim under the Fourteenth Amendment, “[t]he

  two threshold questions … are whether the plaintiff possessed a liberty or property interest

  protected by the United States Constitution or federal statutes and, if so, what process was due

  before the plaintiff could be deprived of that interest.” Green v. Bauvi, 46 F.3d 189, 194 (2d Cir.

  1995); Ciambriello v. Cty. of Nassau, 292 F.3d 307, 313 (2d Cir. 2002) (same); Mehta v. Surles,

  905 F.2d 595, 598 (2d Cir. 1990) (per curiam) (same); Jackson v. Roslyn Bd. of Educ., 652 F.

  Supp. 2d 332, 338 (E.D.N.Y. 2009) (Spatt, J.) (same). Initially, the Court must determine whether

  the Plaintiff’s purported property interests are protected by the Constitution.

                 a. Property Interests



                                                   33
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 34 of 46 PageID #: 302



         Laface identifies two potential property interests: (1) an investigation of his complaints of

  bullying and harassment; and (2) engagement in an interactive process to address his request for

  reasonable accommodations. In general, not all contractual benefits are significant enough to be

  accorded constitutional protection. Ezekwo v. New York City Health and Hosps. Corp., 940 F.2d

  775, 782 (2d Cir. 1991). “Property interests are not created by the Constitution, they are created

  and their dimensions are defined by existing rules or understandings that stem from an independent

  source such as state law.” Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 538, 105 S. Ct.

  1487, 84 L. Ed. 2d 494 (1985) (internal quotation marks omitted); Gen. Elec. Co. v. New York

  State Dep’t of Labor, 936 F.2d 1448, 1453 (2d Cir. 1991) (“The existence and dimensions of

  property interests are defined by existing rules or understandings that stem from an independent

  source such as state law-rules or understandings that secure certain benefits and that support claims

  of entitlement to those benefits.” (internal citations and question marks omitted)). Moreover, “[a]

  ‘unilateral expectation’ is not sufficient … [r]ather, a plaintiff must have ‘a legitimate claim of

  entitlement to’ the alleged property interest.” Looney v. Black, 702 F.3d 701, 706 (2d Cir. 2012)

  (quoting Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 577, 92 S. Ct. 2701, 33 L. Ed. 2d

  548 (1972)).

         The Fourteenth Amendment does provide public employees, such as Laface, with certain

  property interests that arise from their employment. See Otero v. Bridgeport Hous. Auth., 297

  F.3d 142, 151 (2d Cir. 2002). These property interests are typically “invoked to protect something

  more than an ordinary contractual right.” S & D Maintenance Co. v. Goldin, 844 F.2d 962, 966

  (2d Cir. 1988). As Judge Newman warned in S & D Maintenance Co.:

         In one sense, of course, every enforceable contract right can be said to be an
         “entitlement.” ... And whenever a person contracts with the state, breach by the
         state can be considered a denial of his entitlement to performance of the contract.

                                                   34
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 35 of 46 PageID #: 303



         If the concept of “entitlement” were this expansive, federal courts could be asked
         to examine the procedural fairness of every action by a state alleged to be in breach
         of its contracts.

  Id. In Otero, the Second Circuit limited property rights in public contracts to circumstances where

  the right is characterized by “extreme dependence” or “permanence.” Id. In other words, a

  plaintiff must “have a legitimate claim of entitlement to it.” Martz v. Inc. Vill. of Valley Stream,

  22 F.3d 26, 29-30 (2d Cir. 1994) (internal citations omitted).

         The Plaintiff’s first purported property right, that he has a contractual right to an

  investigation of his complaints, is grounded in BOCES’ anti-bullying and harassment policies.

  These are internal BOCES policies and are not alleged to be part of the CBA, an employment

  contract, or any other existing rules or state law. Even when the Union complained of this alleged

  behavior on behalf of Laface, it did not mention any specific policy that was purportedly violated

  by the Defendants. Without more, the Court is unable to determine whether Laface is entitled to

  any investigation as a matter of right. The Plaintiff’s failure to identify any specific policy in his

  complaint is sufficient to preclude that he has a protectable interest.

         However, even assuming that he does have a contractual interest, such an interest does not

  rise to the level of a constitutionally protected interest. In an analogous case, Local 342, Long

  Island Pub. Serv. Emps. vs. Town Bd. of the Town of Huntington, 31 F.3d 1191 (2d Cir. 1994), the

  Second Circuit found no property interest in a medical benefits provider pursuant to a collective

  bargaining agreement. Id. at 1192. Despite a clause in the collective bargaining agreement that

  provided for a union-sponsored trust to administer the plan, the town installed the state as the

  administrator. In concluding that there was no Fourteenth Amendment property interest, the

  Second Circuit applied S & D Maintenance, Co., and held that “it is apparent that the Union and



                                                   35
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 36 of 46 PageID #: 304



  the Trust possessed, at most, nothing more than a simple contractual right to receive the premium

  payments.” Id. at 1195.

         Here, the Plaintiff merely alleges a potential contractual right in BOCES policies to an

  investigation of his complaints. There is no contention that New York law entitles him to an

  investigation, or what any purported investigation would entail.           Reviewing the Plaintiff’s

  complaint, the Court is reminded of Judge Newman’s warning of the consequences of such an

  expansive view of entitlement. See S & D Maintenance Co., 844 F2d at 966. See, e.g., Martz, 22

  F.3d at 31 (where the plaintiff “alleg[ed] the breach of an ordinary contract … [t]he right to

  payment on such a contract d[id] not rise to the level of a constitutionally protected property

  interest”). Reading the complaint in a light most favorable to the Plaintiff, the failure to investigate

  violates nothing more than BOCES internal policies.

         Moreover, there is no argument that there was either extreme dependence or permanence,

  as required by the Second Circuit. See Rosenfeld v. Port Auth. of New York & New Jersey, 108 F.

  Supp. 2d 156, 166 (E.D.N.Y. 2000) (holding that the alleged property interest was only a

  “voluntary contractual relationship” because it did not rise to the level of either extreme

  dependence or permanence”). In S & D Maintenance Co., the Circuit gave the example of welfare

  benefits and tenure as examples of extreme dependence and permanence respectively. See also

  DeMichele v. Greenburgh Cent. Sch. Dist. No. 7, 167 F.3d 784, 789 (2d Cir. 1999) (noting that a

  tenured public-school teacher has a cognizable property interest in pay and continued

  employment). This is in stark contrast to any purported investigation required by an internal

  policy. The instant interest is more reminiscent of the facts present in Local 342 rather than those

  Second Circuit cases that recognized property interests protected by the Fourteenth Amendment.



                                                    36
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 37 of 46 PageID #: 305



         Here, as in Local 342, the plaintiff merely alleges that an agreement or policy has been

  violated and that he is contractually entitled to the benefit. This stands in contrast to Ezekwo,

  where the Second Circuit found that a right to an appointment as chief medical resident was a

  recognized property interest. Ezekwo, 940 F.2d at 783. There, the Circuit found that this interest

  did not arise from a contractual provision. It held that the property interest was found in the

  plaintiff’s right to the status that came with the title “Chief Resident.” Id. Here, Laface’s purported

  interest can only be found in a vague internal policy. In our Circuit. this is insufficient to establish

  a protected property interest.

         The Plaintiff also fails to identify a legal foundation for any theoretical entitlement to his

  second purported property right, an interactive process regarding accommodations.               “When

  determining whether a plaintiff has a claim of entitlement, [the courts] focus on the applicable

  statute, contract or regulation that purports to establish the benefit.” Brown v New York, 975 F.

  Supp. 2d 209, 242 (N.D.N.Y. 2013) (quoting Martz, 22 F.3d at 30). While the complaint

  continuously references an “interactive process” with the Defendants, he fails to explain what this

  process entails or whether it has any basis in law, regulation or procedure.

         Although the ADA “envisions an ‘interactive process’ by which employers and employees

  work together to assess whether an employee’s disability can be reasonably accommodated,”

  Jackan v. New York State Dep’t of Labor, 205 F.3d 562, 566 (2d Cir. 2000), the Plaintiff fails to

  explain why the Defendants’ actions did not entail an “interactive process” as contemplated by the

  ADA. Rather, the complaint is full of instances of an “interactive process” between the parties.

  As one circuit noted, such a process can include:

         meet[ing] with the employee who requests an accommodation, request[ing]
         information about the condition and what limitations the employee has, ask[ing]
         the employee what he or she specifically wants, show[ing] some sign of having

                                                    37
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 38 of 46 PageID #: 306



         considered [the] employee's request, and offer[ing] and discuss[ing] available
         alternatives when the request is too burdensome.

  Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 317 (3d Cir. 1999); see also Jacques v. DiMarzio,

  Inc., 200 F. Supp. 2d 151, 170 (E.D.N.Y. 2002) (explaining that the employer should “explore

  ‘what limitations the employee has, ask the employee what he or she specifically wants, show

  some sign of having considered [the] employee's request, and offer and discuss available

  alternatives when the request is too burdensome.’” (quoting Taylor, 184 F.3d at 317)).

         There was considerable back and forth between the parties, two in-person meetings,

  requests of additional information about the Plaintiff’s limitations and condition, and numerous

  attempts at accommodating the Plaintiff’s disability with available alternatives. The Defendants

  even revised their original assignment, albeit purportedly only temporarily, to prevent the Plaintiff

  from having to drive more than ten miles from his residence.

         While the Plaintiff’s request to return to his old shift at his old work assignment has not

  been granted, due process does not necessarily guarantee a desired result. See, e.g., Ostrowsky v.

  Dept. of Educ. of New York City, No. 12-CV-2439, 2013 WL 5963137, at *6 (E.D.N.Y. Nov. 7,

  2013) (holding that a tenured school teacher’s involuntary transfer without loss of pay or

  employment, additional commuting resulting from a transfer and loss of seniority-based benefits

  did not implicate constitutionally protected property interests). While Laface has raised legitimate

  concerns regarding the nature of his new assignment and potential motivations, it can hardly be

  said that no interactive process was followed. Therefore, even if the Plaintiff had properly pled

  that there was a failure of an “interactive process” as contemplated in the ADA, it would not

  implicate a constitutionally protected property interest. However, without any reference to a basis

  for this entitlement, the Court is unable to determine if “[the interest is] created and [its]


                                                   38
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 39 of 46 PageID #: 307



  dimensions are defined by existing rules or understandings that stem from an independent source

  such as state law[.]” Loudermill, 470 U.S. at 538 (quoting Roth, 408 U.S. at 577).

                    b. Deprivation & Article 78 Proceeding Requirement

         Even if the Plaintiff properly alleged constitutionally protected property interests, he is

  unable to demonstrate deprivation of any procedural protections. The Plaintiff is entitled to an

  Article 78 proceeding in New York State court, an adequate post-deprivation remedy for

  procedural due process. See Hellenic Am. Neighborhood Action Comm. v. City of New York, 101

  F.3d 877, 881 (2d Cir. 1996).

         Further, he was required to bring an Article 78 proceeding prior to bringing this claim to

  federal court. “When reviewing alleged procedural due process violations, the Supreme Court has

  distinguished between (a) claims based on established state procedures and (b) claims based on

  random, unauthorized acts by state employees.” Id. at 880 (citing Hudson v. Palmer, 468 U.S.

  517, 532, 104 S. Ct. 3194, 82 L. Ed. 2d 393 (1984); Parratt v. Taylor, 451 U.S. 527, 541, 101 S.

  Ct. 1908, 68 L. Ed. 2d 420 (1981), overruled in part on other grounds by Daniels v. Williams, 474

  U.S. 327, 106 S. Ct. 662, 88 L. Ed. 2d 662 (1986)). In the later case, “the ‘due process’ required

  by the fourteenth amendment is satisfied by the availability at the state level of an adequate post-

  deprivation hearing.” Kraebel v. New York City Dep’t of Hous. Pres. & Dev., 959 F.2d 395, 404

  (2d Cir. 1992).

         Here, both the apparent lack of an investigation of complaints of bullying and a refusal to

  engage in an “interactive process” to address the Plaintiff’s condition are both properly categorized

  as random, unauthorized acts by the Defendants. The complaint does not allege that in committing

  these acts, the Defendants are utilizing or violating any sort of state procedure. Rather, Laface

  argues that the Defendants summarily refused to conduct either a process or investigation. In New

                                                   39
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 40 of 46 PageID #: 308



  York State, “an Article 78 proceeding is a perfectly adequate postdeprivation remedy,” where

  “constitutional issues can be decided.” Hellenic Am. Neighborhood Action Comm., 101 F.3d at

  881; see also Nenninger v. Vill. of Port Jefferson, 509 F. App’x 36, 39 n.2 (2d Cir. 2013) (“[T]he

  claim fails in any event because [the plaintiff] was free to bring an Article 78 mandamus

  proceeding in New York State Court.”). The Plaintiff’s failure to plead that he utilized an Article

  78 proceeding, or any other post-deprivation hearing precludes him from now seeking such relief

  in federal court.

          Accordingly, the Plaintiff’s Section 1983 procedural due process cause of action is

  dismissed with prejudice.

  F. ABANDONMENT

          The Defendants argue that the Plaintiff’s claims for disability discrimination and hostile

  work environment must be dismissed because Laface’s failure to oppose their arguments regarding

  these claims constitutes abandonment. The Court does not find that the Plaintiff failed to respond

  to the Defendants’ arguments relating to disability discrimination. Laface’s arguments regarding

  his failure to accommodate claim also apply to the disability discrimination claim. However, the

  Plaintiff did not respond, in any way, to the Defendants’ arguments concerning the hostile work

  environment claim under the ADA.

          District courts in this circuit have found that “[a] plaintiff’s failure to respond to

  contentions raised in a motion to dismiss claims constitute an abandonment of those claims.”

  Youmans v. Schiro, No. 12 Civ. 3690, 2013 WL 6284422, at *5 (S.D.N.Y. Dec. 3, 2013). See,

  e.g., Lomonoco v. Saint Anne Inst., No. 1:15-CV-1163, 2018 WL 2324051, at *12 (N.D.N.Y. May

  22, 2018) (“[T]he Court may, and does, construe the failure to respond to an opposing party’s

  arguments as an effective abandonment of the claim.”); Javed v. Medgar Evers Coll. of the City

                                                  40
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 41 of 46 PageID #: 309



  Univ. of New York, No. 15-CV-7424, 2017 WL 4357138, at *4–5 (E.D.N.Y. Sept. 29, 2017)

  (dismissing a series of claims for failure to respond to defendants’ arguments), aff'd sub nom. Javed

  v. Medgar Evers Coll. of City Univ. of New York, 724 F. App'x 73 (2d Cir. 2018), as amended

  (June 12, 2018); Hou v. Lam, No. 3:16-CV-01592 (VAB), 2017 WL 4316394, at *3 (D. Conn.

  Sept. 27, 2017) (dismissing Connecticut state law claim due to the plaintiff’s failure to respond to

  the defendants’ arguments); Robinson v. Fischer, No. 09 CIV. 8882 (LAK)(AJP), 2010 WL

  5376204, at *10 (S.D.N.Y. Dec. 29, 2010) (“Federal courts have the discretion to deem a claim

  abandoned when a defendant moves to dismiss that claim and the plaintiff fails to address in their

  opposition papers defendants' arguments for dismissing such a claim.” (citing Lipton v. Cty. of

  Orange, 315 F. Supp. 2d 434, 446 (S.D.N.Y. 2004) (“This Court may, and generally will, deem a

  claim abandoned when a plaintiff fails to respond to a defendant's arguments that the claim should

  be dismissed.”))); Bonilla v. Smithfield Assocs. LLC, No. 09 Civ. 1549, 2009 WL 4457304, at *4

  (S.D.N.Y. Dec. 4, 2009) (dismissing certain claims where the plaintiff failed to respond to the

  defendant's arguments); Thomas v. Atl. Express Corp., No. 07 Civ.1978, 2009 WL 856993, at *2

  (S.D.N.Y. Mar. 31, 2009) (same) (citing Hanig v. Yorktown Cent. Sch. Dist., 384 F. Supp. 2d 710,

  722–23 (S.D.N.Y. 2005)); Burchette v. Abercrombie & Fitch Stores, Inc., No. 08 Civ. 8786, 2009

  WL 856682, at *9 (S.D.N.Y. Mar. 30, 2009) (dismissing plaintiff's constructive discharge claim

  because plaintiff abandoned it by failing to address it in her opposition motion to defendant's

  motion to dismiss all claims); Hanig, 384 F. Supp. 2d at 723 (“[B]ecause plaintiff did not address

  defendant's motion to dismiss with regard to this claim, it is deemed abandoned and is hereby

  dismissed.”); Martinez v. Sanders, No. 02 Civ. 5624, 2004 WL 1234041, at *3 (S.D.N.Y. June 3,

  2004) (“Because Plaintiff did not address Defendant's motion to dismiss with regard to these

  claims, they are deemed abandoned.”); Anti–Monopoly, Inc. v. Hasbro, Inc., 958 F. Supp. 895,

                                                   41
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 42 of 46 PageID #: 310



  907 n.11 (S.D.N.Y. 1997) (“[T]he failure to provide argument on a point at issue constitutes

  abandonment of the issue ... which provides an independent basis for dismissal.”), aff'd, 130 F.3d

  1101 (2d Cir. 1997). Therefore, that claim is deemed abandoned.

         Accordingly, the Plaintiff’s hostile work environment claim is dismissed with prejudice.

  G. STATE LAW CLAIMS

         The Defendants argue that the Plaintiff’s failure to plead compliance with Education Law

  § 3813 precludes Laface from now bringing his state law claims.

         Section 3813 provides in relevant part:

         No action or special proceeding, for any cause whatever, ... shall be prosecuted or
         maintained against any school district ... unless it shall appear by and as an
         allegation in the complaint ... a written verified claim upon which such action or
         special proceeding is founded was presented to the governing body of said district
         or school within three months after the accrual of such claim.

  N.Y. Educ. Law § 3813(1). Compliance with this obligation is a prerequisite to filing suit. See

  Putkowski v. Warwick Valley Cent. Sch. Dist., 363 F. Supp. 2d 649, 653-54 (S.D.N.Y. 2005);

  Angarano v. Harrison Cent. Sch. Dist., 14 Misc. 3d 1217(A) (N.Y. Sup. Ct. Jan. 16, 2007) (“It is

  well settled that Education Law § 3813(1) is a statutory condition precedent to a petitioner’s

  bringing of a proceeding against a school district or board of education, and a petitioner’s failure

  to comply is a fatal defect mandating dismissal of the action.” (internal citations omitted)).

         The Plaintiff admits that he has not filed notices of claim regarding these claims on any of

  the Defendants. Undoubtedly, BOCES and the Board fit within the statute’s scope and the

  Plaintiff’s failure to serve a timely notice of claim mandates dismissal of his state law claims

  against them.




                                                   42
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 43 of 46 PageID #: 311



          However, the parties dispute as to whether the rest of the Defendants are subject to the

  statute’s notice requirement. Laface contends that Lutz, McSweeney, Diamond, Anderson and

  Bilka are not “school officers” within the meaning of the statute. A “school officer” is defined as:

          a clerk, collector, or treasurer of any school district; a trustee; a member of a board
          of education or other body in control of the schools by whatever name known in a
          union free school district, central school district, central high school district, or in
          a city school district; a superintendent of schools; a district superintendent; a
          supervisor of attendance or attendance officer; or other elective or appointive
          officer in a school district whose duties generally relate to the administration of
          affairs connected with the public school system.

  N.Y. Educ. Law § 2(13). Based upon this definition, Lutz, McSweeney, Diamond, Anderson and

  Bilka all qualify as “school officers.” While none of these Defendants are trustees, treasurers,

  collectors, clerks, or district superintendents, they are all “elective or appointive officer[s]” who

  are responsible for the “administration of affairs” at BOCES. All of these district-wide positions

  “relate to the administration of affairs” within BOCES. There is no contention in the complaint or

  any other part of the record that any of these roles are school-specific, such as a principal or teacher,

  and therefore not an “officer” as defined by the Education Law. Rather, the complaint contains

  factual allegations that indicate these were all district-wide roles. Accordingly, the Plaintiff was

  required to comply with the notice requirements of § 3813(1) with regard to his state-law claims

  against the Defendants.

          Moreover, the Court is unable to grant leave to allow the Plaintiff to file a late notice since

  the one-year statute of limitations period for his state-law claims has now expired. Discrimination

  claims against a school district or officer of a school district, pursuant to the NYSHRL are subject

  to a one-year statute of limitations. N.Y. Educ. Law § 3813(2-b). Consequently, the Plaintiff’s

  state law claims against the Defendants are dismissed with prejudice.



                                                     43
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 44 of 46 PageID #: 312



  H. LEAVE TO AMEND

         The Plaintiff has argued that rather than dismissing his claims, the Court should allow him

  to amend his pleading.

         FED. R. CIV. P. 15(a)(2) applies to amending pleadings once the time to do so as a matter

  of right has expired. It states, in pertinent part, that “a party may amend its pleading only with the

  opposing party's written consent or the court's leave. The court should freely give leave when

  justice so requires.” FED. R. CIV. P. 15(a)(2). Courts have construed this rule liberally and have

  said that “the … purpose of Rule 15 is to allow a party to correct an error that might otherwise

  prevent the court from hearing the merits of the claim.” Safety–Kleen Sys., Inc. v. Silogram

  Lubricants Corp., No. 12-CV-4849, 2013 WL 6795963, at *2 (E.D.N.Y. Dec. 23, 2013) (quoting

  Chapman v. YMCA of Greater Buffalo, 161 F.R.D. 21, 24 (W.D.N.Y. 1995)); see also Williams v.

  Citigroup Inc., 659 F.3d 208, 212–13 (2d Cir. 2011) (finding a “strong preference for resolving

  disputes on the merits” (quoting New York v. Green, 420 F.3d 99, 104 (2d Cir. 2005))).

         “The Rule reflects two of the most important principles behind the Federal Rules: pleadings

  are to serve the limited role of providing the opposing party with notice of the claim or defense to

  be litigated ... and ‘mere technicalities’ should not prevent cases from being decided on the merits.”

  D.C.R. Trucking & Excavation, Inc. v. Aetna Cas. and Sur. Co., No. 96-cv-3995, 2002 WL

  32096594, at *8 (E.D.N.Y. Oct. 31, 2002) (quoting Monahan v. New York City Dep't of Corr., 214

  F.3d 275, 283 (2d Cir. 2000)).

         In the Second Circuit, “[i]t is the usual practice upon granting a motion to dismiss to allow

  leave to replead.” Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991); see

  also FED. R. CIV. P. 15(a)(2) (“The court should freely give leave [to amend] when justice so

  requires.”). A court should deny leave to amend only “in instances of futility, undue delay, bad

                                                   44
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 45 of 46 PageID #: 313



  faith or dilatory motive, repeated failure to cure deficiencies by amendments previously allowed,

  or undue prejudice to the non-moving party.” Burch v. Pioneer Credit Recovery, Inc., 551 F.3d

  122, 126 (2d Cir. 2008) (per curiam) (citing Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9

  L. Ed. 2d 222 (1962)).

         In the instant matter, the Court only finds good cause to allow the Plaintiff to replead his

  discrimination claim based on the ADEA and his First Amendment retaliation claim grounded in

  speech. While this Court and the Second Circuit generally indulges a plaintiff’s request to replead

  following a motion to dismiss, for the remainder of the Plaintiff’s claims that have been dismissed,

  it would be a futile endeavor. See Foman, 371 U.S. at 182; Oneida Indian Nation of New York v.

  City of Sherrill, 337 F.3d 139, 168 (2d Cir. 2003) (internal citations omitted), reversed on other

  grounds by City of Sherrill v. Oneida Indian Nation of New York, 544 U.S. 197, 125 S. Ct. 1478,

  161 L. Ed. 2d 386 (2005); In Re American Express Co., 39 F.3d 395, 402 (2d Cir. 1994); John

  Hancock Life Ins. Co. v. Amerford Int'l Corp., 22 F.3d 458, 462 (2d Cir. 1994); Ruffolo v.

  Oppenheimer & Co., Inc., 987 F.2d 129, 131 (2d Cir. 1993). “A proposed amendment to a

  pleading would be futile if it could not withstand a motion to dismiss pursuant to Rule 12(b)(6).”

  Oneida Indian Nation of New York, 337 F.3d at 126 (citing Ricciuti v. New York City Transit Auth.,

  941 F.2d 119, 123 (2d Cir. 1991)).

         For reasons addressed in the instant Order, amending the Plaintiff’s discrimination claims

  under the ADA and Rehabilitation Act; retaliation claims under Title VII and the First

  Amendment’s right to petition clause; procedural due process claim under the Fourteenth

  Amendment; and state-law claims would be futile. It is manifestly clear that the Plaintiff is unable

  to sufficiently allege these claims regardless of any potential amendments. The facts pled in the

  complaint do not support them under any circumstances.

                                                  45
Case 2:18-cv-01314-ADS-AKT Document 25 Filed 11/15/18 Page 46 of 46 PageID #: 314



         Allowing Laface to revise his hostile work environment claim under the ADA would also

  be inappropriate. The Plaintiff’s abandonment of this cause of action forecloses his ability to

  revise it. See, e.g., Rothberg v. Phil's Main Roofing, LLC, No. 14-CV-10195 (NSR), 2017 WL

  1162904, at *9 (S.D.N.Y. Mar. 24, 2017), reconsideration denied, 2017 WL 1857257 (S.D.N.Y.

  May 5, 2017).

                                         III. CONCLUSION

         For the reasons stated above, the Defendants’ motion to dismiss the Plaintiff’s complaint

  pursuant to Rule 12(b)(6), is granted in part. The Plaintiff’s disability discrimination claims under

  the ADA & Rehabilitation Act; hostile environment claim under the ADA; retaliation claim under

  Title VII; Section 1983 First Amendment redress of grievances claim; Section 1983 procedural

  due process claim; and state law claims are dismissed with prejudice.               Laface’s ADEA

  discrimination claim and Section 1983 First Amendment free speech claim are dismissed without

  prejudice. A portion of his retaliation claim under the ADA survives.

         For those claims that are dismissed without prejudice, the Plaintiff is granted leave to

  replead them within thirty (30) days of entry of this Order. Failure to do so will result in their

  dismissal with prejudice.


          It is SO ORDERED:

   Dated: Central Islip, New York

          November 15, 2018

                                                        ___/s/ Arthur D. Spatt_____

                                                         ARTHUR D. SPATT

                                                     United States District Judge

                                                   46
